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                            Real Estate Appraisal, In Re Halenar, 18-50708




                           APPRAISAL OF REAL PROPERTY



                                             LOCATED AT:
                                             9270 Huggins Ln
                                       Lot 300 Summit Ridge Sec 7
                                         Reynoldsburg, OH 43068




                                                    FOR:
                                            Mr. Brian Halenar
                                            9270 Huggins Ln.
                                         Reynoldsburg, OH 43068




                                                  AS OF:
                                                  05/29/2018




                                                      BY:
                                              Scott A. Kennedy




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Borrower             n/a                                                                                                                                 File No. 034MAY18
Property Address     9270 Huggins Ln
City                 Reynoldsburg                                                     County Licking                                          State OH            Zip Code 43068
Lender/Client        Mr. Brian Halenar

 APPRAISAL AND REPORT IDENTIFICATION

    This Report is one of the following types:

           Appraisal Report        (A written report prepared under Standards Rule             2-2(a) , pursuant to the Scope of Work, as disclosed elsewhere in this report.)

           Restricted              (A written report prepared under Standards Rule        2-2(b) , pursuant to the Scope of Work, as disclosed elsewhere in this report,
           Appraisal Report        restricted to the stated intended use by the specified client or intended user.)




  Comments on Standards Rule 2-3
  I certify that, to the best of my knowledge and belief:
  - The statements of fact contained in this report are true and correct.
  - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased professional
  analyses, opinions, and conclusions.
  - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
  involved.
  - Unless otherwise indicated, I have performed no services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the three-year
  period immediately preceding acceptance of this assignment.
  - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
  - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
  - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of the
  client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
  - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
  were in effect at the time this report was prepared.
  - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
  - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
  individual providing significant real property appraisal assistance is stated elsewhere in this report).




  Comments on Appraisal and Report Identification
  Note any USPAP related issues requiring disclosure and any State mandated requirements:
  Market Time: 90-120 days
  Exposure Time: 90-120 days.

  I have not performed an appraisal or any other real estate related service concerning the subject in the last 3 years.

  The client for this report was Brian Halenar.

  The intended user of the report was Brian Halenar. The report was to be used for asset management purposes.




  APPRAISER:                                                                                        SUPERVISORY or CO-APPRAISER (if applicable):




  Signature:                                                                                        Signature:
  Name: Scott A. Kennedy                                                                            Name:
            Certified General Appraiser
  State Certification #: 2007005561                                                                 State Certification #:
  or State License #:                                                                               or State License #:
  State: OH           Expiration Date of Certification or License:      03/20/2019                  State:              Expiration Date of Certification or License:
  Date of Signature and Report: 05/30/2018                                                          Date of Signature:
  Effective Date of Appraisal: 05/29/2018
  Inspection of Subject:            None            Interior and Exterior      Exterior-Only        Inspection of Subject:            None           Interior and Exterior    Exterior-Only
  Date of Inspection (if applicable): 05/29/2018                                                    Date of Inspection (if applicable):

                                                          Form ID14 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                             SUMMARY OF SALIENT FEATURES




                              Subject Address               9270 Huggins Ln

                              Legal Description             Lot 300 Summit Ridge Sec 7

                              City                          Reynoldsburg
SUBJECT INFORMATION




                              County                        Licking

                              State                         OH

                              Zip Code                      43068

                              Census Tract                  7562.02

                              Map Reference                 18140
SALES PRICE




                              Sale Price                $

                              Date of Sale




                              Borrower                      n/a
CLIENT




                              Lender/Client                 Mr. Brian Halenar




                              Size (Square Feet)            1,908

                              Price per Square Foot     $
DESCRIPTION OF IMPROVEMENTS




                              Location                      suburban

                              Age                           17

                              Condition                     average

                              Total Rooms                   8

                              Bedrooms                      4

                              Baths                         2.1
APPRAISER




                              Appraiser                     Scott A. Kennedy

                              Date of Appraised Value       05/29/2018
VALUE




                              Opinion of Value          $ 190,000




                                                        Form SSD3 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                              Case 2:18-bk-50708                       Doc 26              Filed Kennedy
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                                                                                                          Document           Page 4 of 13
RESIDENTIAL APPRAISAL REPORT                                                                                                                                                          File No.: 034MAY18
                                  Property Address: 9270 Huggins Ln                                                                City: Reynoldsburg                              State: OH          Zip Code: 43068
                                  County: Licking                                                    Legal Description: Lot 300 Summit Ridge Sec 7
SUBJECT




                                                                                                                                                Assessor's Parcel #:        064-152940-00.009
                                  Tax Year: 2017                R.E. Taxes: $ 3,575               Special Assessments: $ 0                      Borrower (if applicable):     n/a
                                  Current Owner of Record:           Brian J. Halenar & Katie A. Mountain                             Occupant:         Owner             Tenant        Vacant             Manufactured Housing
                                  Project Type:              PUD           Condominium             Cooperative         Other (describe)                                       HOA: $ 0                    per year        per month
                                  Market Area Name:          see defined market area                                                    Map Reference: 18140                                Census Tract: 7562.02
                                  The purpose of this appraisal is to develop an opinion of:               Market Value (as defined), or         other type of value (describe)
                                  This report reflects the following value (if not Current, see comments):                Current (the Inspection Date is the Effective Date)             Retrospective            Prospective
ASSIGNMENT




                                  Approaches developed for this appraisal:              Sales Comparison Approach             Cost Approach           Income Approach (See Reconciliation Comments and Scope of Work)
                                  Property Rights Appraised:              Fee Simple            Leasehold         Leased Fee            Other (describe)
                                  Intended Use: The appraisal report was made to estimate the market value of the subject. The appraisal was to be used for asset management
                                   purposes.
                                  Intended User(s) (by name or type):       Mr. Brian Halenar.
                                  Client:    Mr. Brian Halenar                                                        Address: 9270 Huggins Ln, Reynoldsburg, OH 43068
                                  Appraiser:     Scott A. Kennedy                                                     Address: 581 Country Club Dr., Unit A, Newark, OH 43055
                                  Location:              Urban                Suburban             Rural                  Predominant                One-Unit Housing                 Present Land Use                   Change in Land Use
                                  Built up:              Over 75%             25-75%               Under 25%               Occupancy               PRICE                AGE        One-Unit         70 %          Not Likely
                                  Growth rate:           Rapid                Stable               Slow                     Owner 95               $(000)               (yrs)      2-4 Unit
                                                                                                                                                                                         In Process *       %     Likely *
MARKET AREA DESCRIPTION




                                  Property values:       Increasing           Stable               Declining                Tenant     5 180 Low            8                      Multi-Unit               % * To:
                                  Demand/supply:         Shortage             In Balance           Over Supply              Vacant (0-5%)231 High          28                      Comm'l                   %
                                  Marketing time:        Under 3 Mos.         3-6 Mos.             Over 6 Mos.              Vacant (>5%) 205 Pred          10                                            30 %
                                  Market Area Boundaries, Description, and Market Conditions (including support for the above characteristics and trends):    The neighborhood was a single-family
                                  development known as Summit Ridge in Southwest Licking County.The neighborhood was considered the subject development and other
                                  competing subdivisions within southwest Licking County. The neighborhood was limited to developments that were started 5-30 years ago.
                                  These developments were characterized by uniform housing using standard plans with modifications. Most subdivisions were developed by
                                  one or two large builders. Most of the houses appeared to be well maintained. The age of the houses limited the amount of deferred
                                  maintenance. Police and fire protection was provided by Reynoldsburg. No public transportation served the area. Schools provided
                                  transportation for students. The market area was considered desirable due to its close proximity to Columbus.


                                  Dimensions: 75 x 120                                                                                                        Site Area: 9,000 sf
                                  Zoning Classification: R-1                                                                                                  Description: Single-Family Residential District
                                                                                                              Zoning Compliance:         Legal                    Legal nonconforming (grandfathered)          Illegal                       No zoning
                                  Are CC&Rs applicable?         Yes          No       Unknown             Have the documents been reviewed?                      Yes      No     Ground Rent (if applicable) $                              /
                                  Highest & Best Use as improved:            Present use, or              Other use (explain)

                                  Actual Use as of Effective Date:
                                                           single-unit residence                            Use as appraised in this report: single-unit residence
                                  Summary of Highest & Best Use:
                                                             The site was located in an established residential area. The area was predominately residential. Removing the
SITE DESCRIPTION




                                  current improvements would not benefit the site. Therefore, the highest and best use of the site was its current use: single family house.

                                  Utilities       Public Other       Provider/Description  Off-site Improvements      Type             Public Private Topography level
                                  Electricity                                              Street        asphalt                                      Size       typical of area
                                  Gas                                                      Curb/Gutter concrete                                       Shape      rectangular
                                  Water                                                    Sidewalk      concrete                                     Drainage   storm sewer/adequate
                                  Sanitary Sewer                                           Street Lights electric                                     View       residential
                                  Storm Sewer                                              Alley         none
                                  Other site elements:       Inside Lot        Corner Lot     Cul de Sac      Underground Utilities  Other (describe)
                                  FEMA Spec'l Flood Hazard Area          Yes       No FEMA Flood Zone X                  FEMA Map # 39089C0407H                    FEMA Map Date 5/2/2007
                                  Site Comments:       The site was typical of others in the neighborhood. It was improved with an asphalt drive. The site was adequately maintained
                                  and landscaped. The rear yard was enclosed with a wood fence.


                                  General Description                           Exterior Description                             Foundation                  Basement            None        Heating
                                  # of Units        1              Acc.Unit     Foundation                concrete block         Slab        none            Area Sq. Ft. 340                Type      fa
                                  # of Stories      2                           Exterior Walls            vinyl lap              Crawl Space partial         % Finished    95%               Fuel      gas
                                  Type        Det.      Att.                    Roof Surface              shingle                Basement    partial         Ceiling       fiberglass
                                  Design (Style) 2 story                        Gutters & Dwnspts.        aluminum               Sump Pump                   Walls         drywall           Cooling
                                      Existing       Proposed     Und.Cons.     Window Type               Sh; wood               Dampness                    Floor         carpet            Central X
                                  Actual Age (Yrs.)      17                     Storm/Screens             insulated/alum         Settlement                  Outside Entry none              Other
DESCRIPTION OF THE IMPROVEMENTS




                                  Effective Age (Yrs.) 17                                                                        Infestation
                                  Interior Description                             Appliances               Attic      None Amenities                                                  Car Storage              None
                                  Floors            carpet/resil/laminate          Refrigerator             Stairs          Fireplace(s) # 1             Woodstove(s) # 0              Garage # of cars ( 4 Tot.)
                                  Walls             Drywall                        Range/Oven               Drop Stair      Patio      none                                             Attach.      2
                                  Trim/Finish       Wood                           Disposal                 Scuttle         Deck       wood                                             Detach.      0
                                  Bath Floor        resilient                      Dishwasher               Doorway         Porch none                                                  Blt.-In      0
                                  Bath Wainscot ceramic                            Fan/Hood                 Floor           Fence none                                                 Carport       0
                                  Doors             hollow core                    Microwave                Heated          Pool       none                                            Driveway      2
                                                                                   Washer/Dryer             Finished                                                                    Surface asphalt
                                  Finished area above grade contains:                 8 Rooms                        4 Bedrooms              2.1 Bath(s)           1,908 Square Feet of Gross Living Area Above Grade
                                  Additional features:    No special energy efficient items were noted or observed.

                                  Describe the condition of the property (including physical, functional and external obsolescence):
                                                                                                                    The subject was a typical post modern 2-story design found in
                                  the subdivisions with 1 or 2 big builders. The subject blended well with surrounding properties. The main floor had a living room, dining room,
                                  kitchen, 1/2 bath, and laundry. The second floor had the owner's bedroom, owner's bath, two additional bedrooms and a hall bath. The
                                  interior of the house was adequately maintained. The house only showed normal wear and tear. No major updates have been completed on
                                  the subject. The basement had finished rec room. Quality of materials and workmanship were consistent with other houses in the market
                                  area. There was a 2 car attached garage and a rear deck. The house was a standard design that was acceptable in the market.

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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                         File No.: 034MAY18
                            My research        did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s): auditor record/owner
TRANSFER HISTORY




                                    1st Prior Subject Sale/Transfer            Analysis of sale/transfer history and/or any current agreement of sale/listing:
                            Date:
                            Price:
                            Source(s): Auditor records/mls
                                   2nd Prior Subject Sale/Transfer
                            Date:
                            Price:
                            Source(s):
                            SALES COMPARISON APPROACH TO VALUE (if developed)                                  The Sales Comparison Approach was not developed for this appraisal.
                                    FEATURE                       SUBJECT                       COMPARABLE SALE # 1                             COMPARABLE SALE # 2                              COMPARABLE SALE # 3
                            Address 9270 Huggins Ln                                   555 Allis Pl E                                   550 Allis Pl W                                   9047 Rosem Ct
                                        Reynoldsburg, OH 43068                      Reynoldsburg, OH 43068                                Reynoldsburg, OH 43068                               Reynoldsburg, OH 43068
                            Proximity to Subject                                    0.13 miles SW                                         0.16 miles SW                                        0.39 miles SW
                            Sale Price              $                                                    $      180,000                                       $      199,900                                       $      198,000
                            Sale Price/GLA          $                  /sq.ft.      $      96.46 /sq.ft.                                  $    104.77 /sq.ft.                                  $    103.77 /sq.ft.
                            Data Source(s)          on site view                    mls 217022644                                         mls 217035212                                        mls 217033059
                            Verification Source(s)  owner/auditor                   auditor records                                       auditor records                                      auditor records
                              VALUE ADJUSTMENTS           DESCRIPTION                   DESCRIPTION        +(-) $ Adjust.                     DESCRIPTION       +(-) $ Adjust.                     DESCRIPTION       +(-) $ Adjust.
                            Sales or Financing
                            Concessions                                             cash                                             conventional                                        conventional
                            Date of Sale/Time                                       08/17/2017                                +9,300 11/07/2017                                  +10,000 12/27/2017                                   +10,000
                            Rights Appraised        Fee Simple                      Fee Simple                                       Fee Simple                                          Fee Simple
                            Location                suburban                        suburban                                         suburban                                            suburban
                            Site                    9,000 sf                        9,375 sf                                         8,750 sf                                            9,372 sf
                            View                    residential                     residential                                      residential                                         residential
                            Design (Style)          2 story                         2 story                                          2 story                                             2 story
                            Quality of Construction average                         average                                          average                                             average
                            Age                     17                              17                                               17                                                  19
                            Condition               average                         average                                          avg/updated                                 -20,000 avg/updated                                   -20,000
                            Above Grade              Total Bdrms    Baths            Total Bdrms         Baths                            Total Bdrms         Baths                            Total Bdrms         Baths
                            Room Count                8      4      2.1                7        3 2.1                                       8        4  2.1                                      7        3
                                                                                                                                                                                                         2.1
                            Gross Living Area                  1,908 sq.ft.                   1,866 sq.ft.                                          1,908 sq.ft.                                     1,908 sq.ft.
                            Basement & Finished     basement                        basement                                              basement                                         basement
                            Rooms Below Grade       rec room                        rec room                                              rec room                                         none                                         +4,000
                            Functional Utility      average                         average                                               average                                          average
                            Heating/Cooling         fa/ac                           fa/ac                                                 fa/ac                                            fa/ac
                            Energy Efficient Items  standard                        standard                                              standard                                         standard
SALES COMPARISON APPROACH




                            Garage/Carport          2 car att                       2 car att                                             2 car att                                        2 car att
                            Porch/Patio/Deck        deck                            patio                                                 patio                                            deck
                            amenities                    fp                         fp                                                    none                                        +500 fp




                            Net Adjustment (Total)                                        +      - $                            9,300               +           -     $             -9,500               +           -     $             -6,000
                            Adjusted Sale Price                                       Net      5.2 %                                         Net             4.8 %                                Net             3.0 %
                            of Comparables                                          Gross      5.2 % $                      189,300         Gross           15.3 % $             190,400         Gross           17.2 % $             192,000
                            Summary of Sales Comparison Approach               See attached addenda.




                            Indicated Value by Sales Comparison Approach $                     190,000
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                                                                              Form GPRES2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE                                                                                 3/2007
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RESIDENTIAL APPRAISAL REPORT                                                                                                                                                      File No.: 034MAY18
                  COST APPROACH TO VALUE (if developed)                           The Cost Approach was not developed for this appraisal.
                  Provide adequate information for replication of the following cost figures and calculations.
                  Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value):




                  ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                          OPINION OF SITE VALUE                                                              =$
COST APPROACH




                  Source of cost data:                                                                                       DWELLING                                   Sq.Ft. @ $                              =$
                  Quality rating from cost service:             Effective date of cost data:                                                                            Sq.Ft. @ $                              =$
                  Comments on Cost Approach (gross living area calculations, depreciation, etc.):                                                                       Sq.Ft. @ $                              =$
                                                                                                                                                                        Sq.Ft. @ $                              =$
                                                                                                                                                                        Sq.Ft. @ $                              =$
                                                                                                                                                                                                                =$
                                                                                                                             Garage/Carport                       Sq.Ft. @ $                                    =$
                                                                                                                             Total Estimate of Cost-New                                                         =$
                                                                                                                             Less               Physical        Functional               External
                                                                                                                             Depreciation                                                                       =$(                      )
                                                                                                                             Depreciated Cost of Improvements                                                   =$
                                                                                                                             ''As-is'' Value of Site Improvements                                               =$
                                                                                                                                                                                                                =$
                                                                                                                                                                                                                =$
                  Estimated Remaining Economic Life (if required):                                      40 Years INDICATED VALUE BY COST APPROACH                                                               =$
                  INCOME APPROACH TO VALUE (if developed)                          The Income Approach was not developed for this appraisal.
INCOME APPROACH




                  Estimated Monthly Market Rent $                            X Gross Rent Multiplier                                           =$                                             Indicated Value by Income Approach
                  Summary of Income Approach (including support for market rent and GRM):




                  PROJECT INFORMATION FOR PUDs (if applicable)                             The Subject is part of a Planned Unit Development.
                  Legal Name of Project:
                  Describe common elements and recreational facilities:
PUD




                  Indicated Value by: Sales Comparison Approach $ 190,000    Cost Approach (if developed) $             Income Approach (if developed) $
                  Final Reconciliation The sales comparison approach was given the sole consideration because it best reflects the actions of the current
                   marketplace. The cost approach was not developed due to the age of the subject. The income approach was not developed as it was not
                   relevant to the subject.
RECONCILIATION




                  This appraisal is made       ''as is'',     subject to completion per plans and specifications on the basis of a Hypothetical Condition that the improvements have been
                  completed,        subject to the following repairs or alterations on the basis of a Hypothetical Condition that the repairs or alterations have been completed, subject to
                  the following required inspection based on the Extraordinary Assumption that the condition or deficiency does not require alteration or repair:



                      This report is also subject to other Hypothetical Conditions and/or Extraordinary Assumptions as specified in the attached addenda.
                  Based on the degree of inspection of the subject property, as indicated below, defined Scope of Work, Statement of Assumptions and Limiting Conditions,
                  and Appraiser’s Certifications, my (our) Opinion of the Market Value (or other specified value type), as defined herein, of the real property that is the subject
                  of this report is: $              190,000                , as of:                 05/29/2018                     , which is the effective date of this appraisal.
                  If indicated above, this Opinion of Value is subject to Hypothetical Conditions and/or Extraordinary Assumptions included in this report. See attached addenda.
                  A true and complete copy of this report contains 13 pages, including exhibits which are considered an integral part of the report. This appraisal report may not be
ATTACHMENTS




                  properly understood without reference to the information contained in the complete report.
                  Attached Exhibits:
                        Scope of Work                          Limiting Cond./Certifications                Narrative Addendum                           Photograph Addenda                           Sketch Addendum
                        Map Addenda                            Additional Sales                             Cost Addendum                                Flood Addendum                               Manuf. House Addendum
                        Hypothetical Conditions                Extraordinary Assumptions
                  Client Contact:                                                                                 Client Name: Mr. Brian Halenar
                  E-Mail:                                                                                  Address: 9270 Huggins Ln, Reynoldsburg, OH 43068
                  APPRAISER                                                                                                SUPERVISORY APPRAISER (if required)
                                                                                                                           or CO-APPRAISER (if applicable)
SIGNATURES




                                                                                                                           Supervisory or
                  Appraiser Name:        Scott A. Kennedy                                                                  Co-Appraiser Name:
                  Company: Kennedy Appraisal Service, Inc.                                                                 Company:
                  Phone: (740) 345-5222                                 Fax:                                               Phone:                                                Fax:
                  E-Mail: kennedyappraisal@alink.com                                                                       E-Mail:
                  Date of Report (Signature):     05/30/2018                                                               Date of Report (Signature):
                  License or Certification #:     2007005561                                   State: OH                   License or Certification #:                                                               State:
                  Designation:       Certified General Appraiser                                                           Designation:
                  Expiration Date of License or Certification:         03/20/2019                                          Expiration Date of License or Certification:
                  Inspection of Subject:               Interior & Exterior       Exterior Only         None                Inspection of Subject:               Interior & Exterior                  Exterior Only              None
                  Date of Inspection:       05/29/2018                                                                     Date of Inspection:
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Borrower           n/a
Property Address   9270 Huggins Ln
City               Reynoldsburg                               County Licking                                State OH   Zip Code 43068
Lender/Client      Mr. Brian Halenar



  • GP Residential : Sales Comparison Analysis - Summary of Sales Comparison Approach
 A search was made of the market area. The data source was the Columbus multiple listing service. The criteria was: closed
 sale, southwest licking county location, 3-4 bedrooms, 2-3 baths, built between 1990-2010,1,600 to 2,600 s/f, site less than 1
 acre, and 1 year time frame from the date of subject viewing. Of the possible sales, the three considered the best for
 comparison were compared to the subject.

 All comparables sold less than 1 year ago. All comparables were located in the same development as the subject.

 Comparable one was a 2 story house. Adjustments were made for market conditions/time.

 Comparable two was a 2 story house. Adjustments were made for market conditions/time, condition, and fp.

 Comparable three was a 2 story house. This sale was adjusted for market conditions/time, condition, and basement finish.

 After adjustments, a value range of $189, 300 to $192,000 was indicated. The value range was narrow. Based on the current
 market condition and the condition of the subject, an as is value opinion of $190,000 was supported.




                                       Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                        Subject Photo Page
Borrower           n/a
Property Address   9270 Huggins Ln
City               Reynoldsburg                                 County Licking                                 State OH       Zip Code 43068
Lender/Client      Mr. Brian Halenar




                                                                                                                        Subject Front
                                                                                                        9270 Huggins Ln
                                                                                                        Sales Price
                                                                                                        Gross Living Area   1,908
                                                                                                        Total Rooms         8
                                                                                                        Total Bedrooms      4
                                                                                                        Total Bathrooms     2.1
                                                                                                        Location            suburban
                                                                                                        View                residential
                                                                                                        Site                9,000 sf
                                                                                                        Quality             average
                                                                                                        Age                 17




                                                                                                                          Subject Rear




                                                                                                                        Subject Street




                                       Form PICPIX.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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Borrower           n/a
Property Address   9270 Huggins Ln
City               Reynoldsburg                                 County Licking                                 State OH       Zip Code 43068
Lender/Client      Mr. Brian Halenar




                                                                                                                        Comparable 1
                                                                                                        555 Allis Pl E
                                                                                                        Prox. to Subject    0.13 miles SW
                                                                                                        Sale Price          180,000
                                                                                                        Gross Living Area   1,866
                                                                                                        Total Rooms         7
                                                                                                        Total Bedrooms      3
                                                                                                        Total Bathrooms     2.1
                                                                                                        Location            suburban
                                                                                                        View                residential
                                                                                                        Site                9,375 sf
                                                                                                        Quality             average
                                                                                                        Age                 17

                                                                                                                            file photo




                                                                                                                        Comparable 2
                                                                                                        550 Allis Pl W
                                                                                                        Prox. to Subject    0.16 miles SW
                                                                                                        Sale Price          199,900
                                                                                                        Gross Living Area   1,908
                                                                                                        Total Rooms         8
                                                                                                        Total Bedrooms      4
                                                                                                        Total Bathrooms     2.1
                                                                                                        Location            suburban
                                                                                                        View                residential
                                                                                                        Site                8,750 sf
                                                                                                        Quality             average
                                                                                                        Age                 17

                                                                                                                            file photo




                                                                                                                        Comparable 3
                                                                                                        9047 Rosem Ct
                                                                                                        Prox. to Subject    0.39 miles SW
                                                                                                        Sale Price          198,000
                                                                                                        Gross Living Area   1,908
                                                                                                        Total Rooms         7
                                                                                                        Total Bedrooms      3
                                                                                                        Total Bathrooms     2.1
                                                                                                        Location            suburban
                                                                                                        View                residential
                                                                                                        Site                9,372 sf
                                                                                                        Quality             average
                                                                                                        Age                 19

                                                                                                                            file photo




                                       Form PICPIX.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
          Case 2:18-bk-50708                                Doc 26         Filed 05/31/18 Entered 05/31/18 14:31:05        Desc MainPage # 11 of 13
                                                                                                                 Main File No. 034MAY18
                                                                          Document     Page 10 of 13
                                                                               Building Sketch
Borrower                n/a
Property Address        9270 Huggins Ln
City                    Reynoldsburg                                                    County Licking                             State OH         Zip Code 43068
Lender/Client           Mr. Brian Halenar




                                                              15'
                                                    6'




                                                    3'
                                                                           13'




                                                         Wood Deck
                                                                                                                                                     24'
                                              5'




                                                          [210 Sq ft]                                                        16'


                                                                                                                                      1'
                                                    3'
                                                   40'
                                                                                                                   14'
                                                                                 17'




                                                                                                                                            Second Floor




                                                                                                                                                                       31'
                                         First Floor                                                                         16'             [968 Sq ft]
             30'




                                         [940 Sq ft]           20'
                                                                                                                                      16'
                                              13'




                                                                                 20'




                                                         2 Car Attached
                                                           [400 Sq ft]                                                                               24'
                                   20'



                                                               20'




 TOTAL Sketch by a la mode, inc.                                                       Area Calculations Summary

Living Area                                                                                                                   Calculation Details
First Floor                                                                                940 Sq ft                                                                 17 × 20 = 340
                                                                                                                                                                     30 × 20 = 600

Second Floor                                                                               968 Sq ft                                                                 14 × 16 = 224
                                                                                                                                                                     31 × 24 = 744

Total Living Area (Rounded):                                                              1908 Sq ft
Non-living Area
2 Car Attached                                                                             400 Sq ft                                                                 20 × 20 = 400

Wood Deck                                                                                  210 Sq ft                                                                 5×3     = 15
                                                                                                                                                                     15 × 13 = 195




                                                          Form SKT.BldSkI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
        Case 2:18-bk-50708              Doc 26        Filed 05/31/18 Entered 05/31/18 14:31:05        Desc MainPage # 12 of 13
                                                                                            Main File No. 034MAY18
                                                     Document     Page 11 of 13
                                                           Location Map
Borrower           n/a
Property Address   9270 Huggins Ln
City               Reynoldsburg                                County Licking                                State OH   Zip Code 43068
Lender/Client      Mr. Brian Halenar




                                       Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case 2:18-bk-50708                    Doc 26          Filed 05/31/18 Entered 05/31/18 14:31:05        Desc MainPage # 13 of 13
                                                                                            Main File No. 034MAY18
                                                     Document     Page 12 of 13

                                                APPRAISER DISCLOSURE STATEMENT
                                         In Compliance with Ohio Revised Code Section 4763.12(C)


                                                                                                               File No.   034MAY18


    Name of Appraiser:            Scott A. Kennedy

    Class of Certification/Licensure:                    Certified General
                                                         Certified Residential
                                                         Licensed Residential
                                                         Temporary                   General              Licensed



    Certification/Licensure Number:                   2007005561


    Scope: This Report                    is within the scope of my Certification or License
                                          is not within the scope of my Certification or License



    Service Provided by:                  Disinterested & Unbiased Third Party
                                          Interested & Biased Third Party
                                          Interested Third Party on Contingent Fee Basis



    Signature of person preparing and reporting the Appraisal:




    This form must be included in conjunction with all appraisal assignments or specialized services performed by a
    state-certified or state-licensed real estate appraiser




                                                                            State of Ohio
                                                                     Department of Commerce
                                                              Division of Real Estate Appraiser Section
                                                                     Cleveland (216) 787-3100




                                      Form OADS - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
      Case 2:18-bk-50708              Doc 26        Filed Kennedy
                                                           05/31/18          Entered 05/31/18 14:31:05
                                                                  Appraisal Service
                                                                                                             Desc Main Page # 1 of 13
                                                                                                     Main File No. 034MAY18
                                                   Document         Page 13 of 13


FROM:
                                                                                                                      INVOICE
                                                                                                                            INVOICE NUMBER
 Scott A. Kennedy, IFA
 581 Country Club Dr.                                                                                                        034MAY18
 Unit A                                                                                                                         DATE
 Newark, OH 43055                                                                                                            05/29/2018
 Telephone Number: 740-345-5222                 Fax Number: 740-345-0394
                                                                                                                              REFERENCE
TO:                                                                                                 Internal Order #:         034MAY18
                                                                                                    Lender Case #:
 Mr. Brian Halenar                                                                                  Client File #:
 9270 Huggins Ln.
                                                                                                    Main File # on form:      034MAY18
 Reynoldsburg, OH 43068
                                                                                                    Other File # on form:

 Telephone Number:                              Fax Number:                                         Federal Tax ID:           XX-XXXXXXX
 Alternate Number:                              E-Mail:                                             Employer ID:




sak

DESCRIPTION
             Lender:    Mr. Brian Halenar                                       Client: Mr. Brian Halenar
 Purchaser/Borrower:    n/a
   Property Address:    9270 Huggins Ln
                City:   Reynoldsburg
             County:    Licking                                                 State: OH                                   Zip: 43068
   Legal Description:   Lot 300 Summit Ridge Sec 7



FEES                                                                                                                                         AMOUNT
summary appraisal report                                                                                                                         350.00




                                                                                                                      SUBTOTAL                   350.00


PAYMENTS                                                                                                                                     AMOUNT
Check #: 5219               Date: 5/29/2018      Description: CHECK FROM OWNER                                                                   350.00
Check #:                    Date:                Description:
Check #:                    Date:                Description:



                                                                                                                      SUBTOTAL                   350.00

                                                                                                                      TOTAL DUE          $            0




                                       Form NIV5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
